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   Intelligence Report
   Subject: Rahul Swaminathan
   File No.: 19613#0872056-00009PATTON, MAD


   Created on: 03/23/2023
   Created by: O'Melveny & Myers, Christine Davis




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   Search Parameters
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              Input Summary

                  Name(s)     Rahul Swaminathan

                Location(s)   California, USA

        Dehashed Domain(s)    https://www.google.com/url?sa=t&rct=j&q=&esrc=s&source=web&cd=&cad=rja&uact=8&ved=2ahukewjj3l2zxvl9a

                     Job(s)   DesertCart Trading FZE , PIFFERT Inc




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   Report Summary
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   The subject's name is Rahul Swaminathan, and is the current Founder at Desertcart. . We have identified 2 social media profiles and it appears
   that the subject has a moderate social media footprint.

   Bookmarked Items
   Page 6 : Linkedin - https://www.linkedin.com/in/swaminathanrahul .
   Page 7 : Linkedin - https://www.linkedin.com/in/rahul-swaminathan-54b597148 .

   Profiles Found
   The following profiles were found and identified to belong to Rahul Swaminathan:

   Page 6: Linkedin - https://www.linkedin.com/in/swaminathanrahul, identified by the following identifiers: Rahul Swaminathan, Claremont, CA,
   Desertcart Trading Fze, Swaminathanrahul, rswaminathan@hmc.edu.
   Page 7: Linkedin - https://www.linkedin.com/in/rahul-swaminathan-54b597148, identified by the following identifiers: Rahul Swaminathan,
   Desertcart Trading Fze.




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   Digital Summary
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              Subject Detailss

                    Name(s)      Rahul Swaminathan

                         Age     19

             Dates of Interest   -

             Date of Incident    -
             T e of Incident
             Typ                 -

             Behavior Focus      -

                  Keyword(s)     -

                  Occupation     Founder at Desertcart, Desertcart Trading Fze
                   Education     Harvey Mudd College

                     Gender      -

                   Loca
                     cattions

             Current Location    Claremont, CA
       Previous Location(s)

                 Address(es)     301 Platt Blvd, Claremont, CA
                     Contact

                     Email(s)    rahul@desertcart.com, rahul.swaminathan@desertcart.com, rahul_swaminathan@hmc.edu,
                                 swamirahul@hotmail.com, rswaminathan@hmc.edu

         Phone Number(s)         +1 909-607-4277, +1 909-267-4356

                         Web

       Personal Website(s)       techmahindra.com, stanfordhealthcare.org, lydnow.com, tatacommunications.com, taalinc.net, smsng.co

                Username(s)      Rahul_swaminathan , Samsungmobile , Rahulswaminathan08 , Swaminathanrahul , Rahulswaminathan ,
                                 Xtreme5000 , Rahulswaminath6 , Rahul-swaminathan-69068144

                Connections      -

                       Notes




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   Locations Found
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   City             State   Source                                  Main Map

   Claremont         CA     Pdl - Rocketreach - Input - Tloxp


   Addresses Found
   Street Address           Known Date       Source

   301 Platt Blvd,          08/25/2008 -      Pdl - Rocketreach -
   Claremont, CA            08/25/2008        Input - Tloxp




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       Website       Linkedin                                                       Subject: Rahul Swaminathan        File No.: 19613#0872056-
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             URL    https://www.linkedin.com/in/swaminathanrahul                                                           00009PATTON, MAD

   Host IP+Date     13.107.42.14 - United States

       Category     Social Media Profile
      Identifiers   [Rahul Swaminathan], [Claremont, CA], [Desertcart Trading Fze], [Swaminathanrahul], [Rswaminathan@Hmc.Edu], [Exact]
     Confidence     Exact
     Comments




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       Website       Linkedin                                                Subject: Rahul Swaminathan        File No.: 19613#0872056-
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                                                                                                                    00009PATTON, MAD
             URL    https://www.linkedin.com/in/rahul-swaminathan-54b597148
   Host IP+Date     13.107.42.14 - United States

       Category     Social Media Profile
      Identifiers   [Rahul Swaminathan], [Desertcart Trading Fze], [Exact]
     Confidence     Exact
     Comments




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   Disclaimer        Case 3:23-cv-01148-CRB Document 15-9 Filed 06/07/23 Page 9 of 9
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                                                                                                                                   00009PATTON, MAD
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